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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



 FAIR FIGHT ACTION and
 CARE IN ACTION,

       Plaintiffs,
       v.                                           Civ. Act. No. 18-cv-5391 (SCJ)
                                                    Jury Trial Demanded
 BRAD RAFFENSPERGER, et al.,
      Defendants.


                        PLAINTIFFS’ RESPONSE TO
                     DEFENDANTS’ MOTION TO DISMISS

      Plaintiffs seek to end the unconstitutional and unlawful suppression of voter

rights that permeates Georgia’s elections system. Plaintiffs detail in their

Complaint the serious and pervasive problems in Georgia’s elections system, from

unconstitutional purging of voters from the voter registration rolls, (Compl. ¶¶ 23,

39-44), to discriminatory restrictions on voter registration, (Compl. ¶¶ 23-24, 39-

56), to insecure election technology, (id. ¶¶ 57-69), to insufficient polling locations

and voting materials, (id. ¶¶ 70-113), to inadequately trained elections officials

throughout the state, (id. ¶¶ 73-113), all of which severely burden, and in some

cases disenfranchise, Georgia’s voters.
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      Defendants try to defend Georgia’s discriminatory elections system—and

dodge their incontestable responsibility for its pervasive failings—with worn out

arguments about standing, immunity, and failure to state a claim. Defendants

employ a playbook so tired that four days ago the Eleventh Circuit rejected

identical arguments relating to sovereign and legislative immunity. This Court

should likewise reject Defendants’ motion to dismiss.1

                               I.     ARGUMENT

      This Court should deny Defendants’ motion to dismiss: (1) Plaintiffs have

standing; (2) Defendants do not have immunity, sovereign or legislative; and (3)

the Complaint more than meets the pleading requirements of Fed. R. Civ. P. 8(a).

       A. THE COURT MUST GENERALLY ACCEPT AS TRUE THE
          FACTS ALLEGED IN THE COMPLAINT.

      “To survive a motion to dismiss a complaint must contain sufficient factual

matter, accepted as true, to state a claim to relief that is plausible on its face.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citations omitted). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. Under Federal Rule of Civil Procedure 8(a), “the complaint need only give the


1
 Plaintiffs intend to file an Amended Complaint within 21 days of Defendants’
filing of this motion to dismiss, as permitted under Fed. R. Civ. P. 15(a)(1)(B).
Because Local Rule 7.1(B) requires a response to a motion to dismiss within 14
days, Plaintiffs also file this response to Defendants’ motion.
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defendant fair notice of what the plaintiff’s claim is and the grounds upon which it

rests.” Palm Beach Golf Ctr.-Boca, Inc. v. John G. Sarris, D.D.S., P.A., 781 F.3d

1245, 1260 (11th Cir. 2015) (citations omitted). According to this “simplified

standard for pleading, a court may dismiss a complaint only if it is clear that no

relief could be granted under any set of facts that could be proved consistent with

the allegations.” Id. (citations omitted).2

       B. NO IMMUNITY DOCTRINE ALLOWS DEFENDANTS TO
          AVOID THEIR CONSTITUTIONAL DUTIES (DEF. BR. §§ III
          AND IV.B).

      Defendants assert two immunity (and therefore jurisdictional) claims—

sovereign and legislative—to avoid responding to Plaintiffs’ serious allegations.

That Defendants have not yet withdrawn those defenses is surprising.

      Last Thursday, the Eleventh Circuit issued an opinion that decided the

sovereign and legislative immunity questions squarely against Defendants. Curling

v. Sec’y of State, ___ F. App’x ___, 2019 WL 480034 (11th Cir. Feb. 8, 2019).

Curling involved constitutional claims, brought pursuant to 42 U.S.C. § 1983, that




2
 Civil rights claims, including those alleged here, are subject to Fed. R. Civ. Proc.
8(a), not to the Rule 9 heightened pleading standard. Randall v. Scott, 610 F.3d
701, 709–10 (11th Cir. 2010) (referencing Iqbal, 556 U.S. 662 (2009) for the
proposition that there is no “heightened pleading standard” as it relates to Rule
8(a)(2) cases, including civil rights cases.)

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Georgia’s use of Direct Record Electronic (“DRE”) machines violates due process

and equal protection.

       In its opinion, the Court wrote “under Ex parte Young, 209 U.S. 123 (1908),

plaintiffs may sue state officials in their official capacities when they seek

‘prospective equitable relief to end continuing violations of federal law.’” Id. at *2.

Just as the Curling plaintiffs “comfortably satisfy” the Ex parte Young

requirement, so do Plaintiffs here. Id.

       Defendants ask this Court to believe Plaintiffs simply seek retrospective

relief for a botched election, but, as the Complaint’s allegations make clear,

Plaintiffs seek fundamental changes in the way Georgia conducts elections to

ensure that the electors never again face such unlawful and unconstitutional

barriers when they attempt to exercise their right to participate in this democracy.

(See Compl. ¶ 114; Prayer for Relief.) Although Plaintiffs detail the legislation,

policies, mismanagement, and, in fact, evils that sullied the 2018 election,

Plaintiffs, just as the Curling Plaintiffs did, “use these allegations only to show that

past is prologue to their future injuries caused by the same election system.”

Curling, 2019 WL 480034, at *4. Besides those allegations, Plaintiffs assert

continuing violations. (See Compl. ¶ 2 (“[t]his Complaint describes the serious and

unconstitutional flaws in Georgia’s elections process—flaws that persist today”);

id. ¶ 44 (“[t]he ‘use it or lose it' policy . . . will continue to disenfranchise voters in

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the future”); id. ¶ 56 (“The Secretary of State’s adoption and application of the

‘exact match’ policy . . . will continue to disenfranchise, thousands of voters . . .

.”); id. ¶ 114 (“[a]bsent judicial intervention, future elections in Georgia will be no

different”).) As the Court noted in Curling, “any number of binding precedents

demonstrate why it is irrefragable that these allegations satisfy Ex parte Young.”

Curling, 2019 WL 480034, at *3. That this Court has jurisdiction is undeniable:

“[u]ndoubtedly, Ex parte Young suits are permitted when the plaintiff alleges that

state election officials are conducting elections in a manner that does not comport

with the Constitution.” Id. at *5.

      Curling also addresses (and resoundingly rejects) Defendants’ legislative

immunity argument. Curling instructs that “[l]egislative immunity applies when a

plaintiff challenges an official’s act that is legislative.” Id. As did the Curling

plaintiffs, Plaintiffs here challenge—not the enactment—but the execution of state

law. 3 There being no challenge to a legislative act, the immunity doctrine has no

application. See, e.g., Yeldell v. Cooper Green Hosp., Inc., 956 F.2d 1056, 1062


3
  The State Election Board’s (“SEB”) actions and omissions that Plaintiffs
complain of include failing to adequately train, failing to provide counties with
sufficient tools for voting, and abdicating its statutory oversight duties. These
actions and omissions led to unconstitutional inconsistencies in applying election
laws across Georgia’s counties. (See, e.g., Compl. ¶¶ 31, 34, 93, 94-114, 119-21,
132-33, 145-46, 150, 157.) These actions are not legislative rulemaking that would
be protected by legislative immunity; they are administrative or enforcement
activities.

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(11th Cir. 1992) (quoting United States v. Brewster, 408 U.S. 501, 517, 92 S.Ct.

2531, 2540, 33 L.Ed.2d 507 (1972)) (“Only those acts which are ‘necessary to

preserve the integrity of the legislative process’ are protected.”). 4

       C. PLAINTIFFS HAVE STANDING (DEF. BR. § I).

      An organization can sue based on injuries to itself. See Warth v. Seldin, 422

U.S. 490, 511 (1975). Like any other plaintiff, it must demonstrate injury,

causation, and redressability. See, e.g., Lujan v. Defenders of Wildlife, 504 U.S.

555, 561 (1992).

      At the pleading stage, general factual allegations of injury suffice. Resnick v.

AvMed, Inc., 693 F.3d 1317, 1323 (11th Cir. 2012); see also Common

Cause/Georgia v. Billups, 554 F.3d 1340, 1349 (11th Cir. 2009) (stating the degree


4
  The claims in the present case rest on 42 U.S.C. § 1983 and on violations of the
Voting Rights Act of 1965. The presence of the Voting Rights Act claims militates
in favor of exercising jurisdiction because numerous courts have ruled that, in
enacting the Voting Rights Act, Congress validly and intentionally abrogated
states’ Eleventh Amendment immunity from suit. That abrogation of sovereign
immunity makes the “SEB” a proper defendant in this case. See OCA-Greater
Houston v. Texas, 867 F.3d 604, 614 (5th Cir. 2017); Mixon v. State of Ohio, 193
F.3d 389, 398–99 (6th Cir. 1999); see also Ga. State Conf. of NAACP v. State, 269
F. Supp. 3d 1266, 1274 (N.D. Ga. 2017) (three-judge district court); Ala State
Conf. of NAACP v. State, 264 F. Supp. 3d 1280, 1291–92 (M.D. Ala. 2017); Hall v.
Louisiana, 974 F. Supp. 2d 944, 953 (M.D. La. 2013); Reaves v. U.S. D.O.J., 355
F. Supp. 2d 510, 515–16 (D.D.C. 2005) (three-judge district court). The Eleventh
Circuit ruled similarly in Lewis v. Governor of Alabama, 896 F.3d 1282, 1292-93
(11th Cir. 2018), reh’g granted, No. 17-11009, 2019 WL 364173, at *1 (11th Cir.
Jan. 30, 2019), but the Court recently granted a rehearing en banc and vacated the
panel opinion.

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of support required for standing is linked to the stage of litigation in which it is

being addressed); Jones v. Family First Credit Union, 340 F. Supp. 3d 1356, 1360

(N.D. Ga. 2018) (citations omitted); DeKalb Cty. V. HSBC N. Amer. Holdings,

Inc., No. 1:12-CV-03640, 2013 WL 7874104, at *3 (N.D. Ga. Sept. 25, 2013).

Plaintiffs’ standing allegations are more than adequate.

          1. Plaintiffs have adequately pleaded an injury in fact.

      Standing is “undemanding,” requiring “only a minimal showing of injury.”

Fla. State Conference of NAACP v. Browning, 522 F.3d 1153, 1163, 1165 (11th

Cir. 2008). The injury necessary for standing need not have already occurred;

injury that is imminent is sufficient. Id. at 1160-61.

      Plaintiff Fair Fight Action alleges that it is an organization that “advocates

for election reform,” “engages in voter education,” and “strives to increase voter

turnout.” (Compl. ¶ 9.) After describing specific efforts it has made in these areas

in the past, Fair Fight Action alleges that “[t]he violations of law described in this

Complaint will require Fair Fight Action “to spend additional resources educating

voters about their rights, registering voters, and ensuring voters know the process

for casting a ballot that will actually be counted.” (Id. ¶ 10.)

      Plaintiff Care in Action alleges that its mission is to “fight[ ] for dignity and

fairness for the millions of domestic workers in the United States—most of whom

are women” by “educating voters about voting procedures and advocating for

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candidates who support domestic worker concerns.” (Id. ¶ 11.) Care in Action

alleges that Defendants’ voter suppression tactics thwarted its mission because its

advocacy and education programs focused on enabling voter participation in the

2018 election. (Id. ¶ 12.) Care in Action describes how, after the 2018 election, it

tracked provisional ballot voters to ensure their votes were counted and further

alleges it will have “to spend additional resources educating voters about their

rights and ensuring that voters know the process for casting a ballot that will

actually count.” (Id. ¶¶ 11-12.)

      These allegations adequately plead injury-in-fact standing under United

States Supreme Court and Eleventh Circuit precedent. In Havens Realty, the

seminal case for organizational standing, the plaintiff organization provided

counseling services to people seeking equal access to housing and investigated

complaints about racial discrimination in housing. Havens Realty Corp. v.

Coleman, 455 U.S. 363, 368 (1982). The plaintiff organization sued the defendants

for “racial steering,” a violation of the Fair Housing Act of 1968. For standing, the

plaintiff organization alleged that the defendants’ wrongdoing had frustrated the

plaintiff organization’s effort to provide equal access to housing through

counseling and that the plaintiff organization “had to devote significant resources

to identify and counteract the defendants’ racially discriminatory steering

practices.” Id. at 379 (alteration omitted). The Court held those allegations showed

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that the plaintiff organization’s ability to provide counseling services was

impaired, constituting a “concrete and demonstrable injury to the organization’s

activities” that, “with the consequent drain on the organization’s resources,” was

sufficient to ward off the defendants’ motion to dismiss. Id. at 379.

      Relying on Havens Realty, the Eleventh Circuit held that the NAACP and

other organizations had standing to challenge a Florida voter registration law. The

court stated the challenged law would require the plaintiffs to divert resources—

personnel and time to educate voters on complying with the challenged law and

resolving problems the law created—that otherwise could have been spent on other

kinds of voter education and on voter registration. Florida State Conf. of the Nat’l

Ass’n of Colored People (NAACP) v. Browning, 522 F.3d 1153, 1165-66 (11th Cir.

2008). The court explained that the net effect of expending resources to counteract

the challenged law would be to increase the average cost of registering each voter

and that, because the plaintiffs did not have unlimited resources, the plaintiffs’

goals would suffer. Id. at 1166. That injury gave the plaintiffs standing. Id.

      In two subsequent cases in which plaintiff organizations also challenged

impediments to voter registration, the Eleventh Circuit relied on Browning and

found standing because the plaintiff organizations showed they would have to

divert personnel and time to educate and assist voters with respect to the alleged




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wrongdoing. See Arcia v. Florida Sec’y of State, 772 F.3d 1335, 1341-42 (11th Cir.

2014); Common Cause/Georgia, 554 F.3d at 1350.

       As in those cases, Plaintiffs here allege that the wrongdoing alleged in their

Complaint will require them to spend additional resources on educating voters,

registering voters and ensuring voters know how to cast a ballot that will actually

be counted. (Compl. ¶¶ 10, 12.) These allegations satisfy the pleading requirements

for injury in fact. See AvMed, Inc., 693 F.3d at 1223 (“general factual allegations

of injury” suffice). 5

       Defendants’ challenges to Plaintiffs’ injury-in-fact allegations demand a

specificity in pleading that is not required. Defendants first argue that because

Plaintiffs allege they will spend “additional” resources instead of alleging they will

“divert” resources from other activities, Plaintiffs do not have standing. (Def. Br. at

6.) That is a meaningless distinction. No logical or legal basis exists for concluding

that an organization that has to spend additional resources to counteract the

defendant’s wrongdoing has not been injured, but an organization that has to divert

resources to counteract a defendant’s wrongdoing has been injured. The key

question, as Havens Realty makes clear, is whether the alleged injury consists of a



5
 Browning, Billups, and Arcia were all decided at a later stage in the proceedings,
after discovery and after evidence of injury-in-fact was submitted to the court.
Those cases in no way suggest that a complaint must contain all the facts the court
found persuasive in finding injury-in-fact.
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“drain on the organization’s resources,” Havens Realty, 455 U.S. at 379, not

whether plaintiffs have articulated that injury as spending “additional” resources

versus “diverting” resources. As the Eleventh Circuit explained in Browning,

organizations do not have unlimited resources. Browning, 522 F.3d at 1166. Thus,

an allegation that an organization will spend additional resources to counteract the

defendant’s wrongdoing is tantamount to an allegation that the organization will be

diverting resources from its other activities. 6 Plaintiffs have alleged all that is

required at this early stage in the litigation.

       Nor must Plaintiffs, as Defendants argue, allege “specific projects that were

either put on hold or curtailed as a result of the change necessitated by the

defendant’s conduct.” (Def. Br. at 7-8.) When then-Secretary of State (“SOS”)

Brian Kemp made this same argument in Martin v. Kemp, 341 F. Supp. 3d 1326




6
  Showing just how indistinguishable the concepts of “diverted” and “additional”
resources are, the court in Browning found that a particular plaintiff there had
standing because that plaintiff anticipated it would have to spend many “more”
(i.e., additional) hours than it otherwise would have to follow up with voter
registration applications. Browning, 522 F.3d at 1166; see also Martin v. Kemp,
341 F. Supp. 3d 1326, 1334 (N.D. Ga. 2018) (discussing the Browning court’s
approval of language in a Seventh Circuit case that seemingly referred to “added”
cost as “diverted” resources); Georgia State Conf. of the Nat’l Ass’n for the
Advancement of Colored People (NAACP) v. Kemp, 841 F. Supp. 2d 1320, 1336
(N.D. Ga. 2012) (quoting complaint allegations that described the plaintiff
organization’s injuries both as an expenditure of “additional resources” and as a
“diversion of resources” and finding those allegations “plainly” sufficient for
pleading standing).
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(N.D. Ga. 2018), the court soundly rejected it. 7 The court observed that, contrary to

the SOS’s argument that an organizational plaintiff must explain exactly how its

resources will be diverted from one endeavor to another, the Eleventh Circuit in

Browning found that a plaintiff organization had sufficiently shown injury based

only on its “anticipat[ion] that it will expend many more hours than it otherwise

would have conducting follow-up work with registration applicants” because of the

statute plaintiffs there were challenging. Id. at 1334 (quoting Browning, 522 F.3d

at 1166 (emphasis added)).

       Here, both Plaintiffs allege they will expend additional resources to

counteract Defendants’ wrongdoing alleged in the Complaint, including to ensure

voters know how to cast ballots that will actually be counted—a specific reference

to counteracting Defendants’ alleged wrongdoing with respect to rejecting absentee

and provisional ballots. (Compl. ¶¶ 10, 12.) Plaintiffs have thus alleged that

Defendants’ wrongdoing will cause Plaintiffs to expend more resources than they

otherwise would have. Plaintiffs’ allegations are adequate at this stage of the

litigation. 8


7
 And the court did so even though the plaintiffs were past the pleading stage and
had submitted evidence to support their request for a preliminary injunction.
8
 Defendants cite no Eleventh Circuit authority for their argument and the cases
Defendants do cite were not decided at the pleading stage. See NAACP v. City of
Kyle, 626 F.3d 233 (5th Cir. 2010) (appeal of a bench trial); ACORN v. Fowler,
178 F.3d 350, 353, 362 (5th Cir. 1999) (appeal of a summary judgment decision
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      Plaintiffs need not allege “a change in the law that allegedly spurred them to

action.” (See Def. Br. at 8.) This Court rejected this argument in another case

against the SOS. In Democratic Party of Ga. v. Crittenden, Case No. 1:18-CV-

5181-SCJ, 2018 WL 5986537, at *7 (N.D. Ga. Nov. 14, 2018), this Court observed

that, during the 2018 “election circumstances,” problems emerged and plaintiffs

diverted resources to address those problems. The Court found this gave the

plaintiffs a “direct stake” in the litigation and stated, “[i]t is immaterial whether the

organizational injury resulted from a change in the law or a change in election-year

conditions and circumstances that bring into focus potential problems with the

state’s statutory framework.” Id. Similarly, the Complaint here alleges numerous

2018 “election circumstances” that, using this Court’s words, “brought into focus”

potential and actual problems that Plaintiffs allege will cause them (and already

caused Care in Action) to spend resources to counteract. Id.; (see, e.g., Compl. ¶¶

23-28, 35, 41, 43, 45, 49-55, 65-67, 72, 75-92, 95-114.) Plaintiffs have alleged all

that is required to support their injury-in-fact allegations.9


and noting the difference between assessing standing at the pleading stage as
opposed to the summary judgment stage, where evidence is required).
9
  Defendants also argue Plaintiffs’ “advocacy efforts do not establish standing” but
cite as support only cases outside the Eleventh Circuit. (Def. Br. at 7). Even were
those cases binding, they would not apply here. Those cases at most say resources
spent on advocacy do not qualify as injury for standing purposes. Plaintiffs do not
allege their injury consists of spending resources on advocacy; they allege their
injury is having to spend resources on registering voters and educating them on
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           2. Plaintiffs have adequately pleaded traceability.

      Once a plaintiff satisfies the injury element of standing, courts often find the

traceability and redressability prongs “easily satisfied.” See, e.g., Ga. Latino

Alliance for Human Rights v. Governor of Ga., 691 F.3d 1250, 1260 (11th Cir.

2012).

      Defendants argue that Plaintiffs’ injuries are not traceable to any of

Defendants’ actions (or inactions) because Defendants do not manage or

administer elections. (Def. Br. at 9.)10 This is yet another argument the SOS has

already lost—just three months ago—this time in Common Cause v. Kemp, ___ F.

Supp. 3d ___, 2018 WL 5915657, at * 15 (N.D. Ga. Nov. 12, 2018). There, as

here, the SOS tried to downplay his responsibilities in order to challenge the

plaintiffs’ standing. But Judge Totenberg, echoing what Judge Murphy and the

Eleventh Circuit ruled in Grizzle v. Kemp, held, in the context of whether the SOS

could redress the plaintiffs’ injury stemming from counting provisional ballots, that



how to cast a ballot. (Compl. ¶¶ 10-12.) Even the case law Defendants cite
recognizes that a standing injury exists when the defendants have “undermine[d]
the organization[s’] direct, non-advocacy services,” Int’l Acad. of Oral Med. &
Toxicology v. Food & Drug Admin., 195 F. Supp. 3d 243, 256 (D.D.C. 2016).
10
  Defendants ignore the many Complaint allegations in addition to those of “gross
mismanagement,” including, for example, the allegations about enforcement of the
unconstitutional “use it or lose it” law, the creation and enforcement of the “exact
match” policy, and knowingly maintaining an insecure voting infrastructure
susceptible to hacking. (See, e.g., Compl. ¶¶ 23, 24, 29, 39-69.)
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“the Secretary of State is the state official in charge of enforcing Georgia’s election

laws.” Id. (citing Grizzle v. Kemp, 634 F.3d 1314, 1316 (11th Cir. 2011) (“the State

Election Board is charged with enforcing Georgia’s election code” and the SOS

has “both the power and the duty to ensure that” local officials “comply with

Georgia’s election code[.]”); see also Grizzle v. Kemp, No. 4:10-CV-0007-HLM,

2010 WL 11519159 *8 (N.D. Ga. Mar. 15, 2010) (the SOS’s argument “failed”

“because Defendant [SOS] is the state official in charge of interpreting and

enforcing Georgia’s election law.”).

      Next, relying exclusively on Clapper v. Amnesty Int’l USA, 568 U.S. 398

(2013), Defendants argue that Plaintiffs’ injuries are “self-inflicted” because they

are based on “fears of hypothetical future harm that is not certainly impending.”11

(Def. Br. at 12-13 (quoting Clapper, 568 U.S. at 416).) Clapper is inapposite. The

plaintiffs in Clapper claimed standing because they had bought technology to

prevent possible government interceptions of their phone calls. The Court

described the plaintiffs’ fear of intercepted calls as “highly speculative” and based

on a “highly attenuated chain of possibilities.” Clapper, 568 U.S. at 410. The Court

thus rejected the plaintiffs’ claim of standing. Id. at 418.


11
  Although Defendants make this argument with respect to traceability (Def. Br. at
12-13), “the analysis of the threat of future harm speaks to the question of an
injury-in-fact.” Kennedy v. Beachside Commercial Props., LLC, 732 F. App’x.
817, 820, n.2 (11th Cir. 2018).

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      No such speculation is required here. Plaintiffs allege that the flaws in

Georgia’s elections process have already harmed Georgia voters and Care in

Action has already taken action to counteract Defendants’ conduct. (See, e.g.,

Compl. ¶¶ 11, 12, 49-55, 65-67, 75-92, 95-114.)12 These allegations alone

differentiate this case from Clapper. See Arcia, 772 F.3d at 1342, n.2

(distinguishing Clapper because a plaintiff-organization in Arcia had spent

resources in the past to counter the defendants’ actions whereas, in Clapper, “the

Court found the plaintiffs’ theory of standing ‘relie[d] on a highly attenuated chain

of possibilities’”);13 see also Curling, 334 F. Supp. at 1317 (explaining that the

plaintiffs’ allegation that Georgia’s voting system might be susceptible to hacking

is not “premised on a theoretical notion or ‘unfounded fear’ of the hypothetical

‘possibility’” because the plaintiffs “allege that harm has in fact occurred”).

          3. Plaintiffs have adequately pleaded redressability.

      Defendants argue that Plaintiffs’ injuries are not redressable because

Plaintiffs would continue to spend resources on voter education even if the Court



12
  Plaintiffs also allege that these problems will reoccur unless Defendants are
enjoined from engaging in the same conduct during the next election. (See, e.g.,
Compl. ¶¶ 44, 56, 114, 124, 136, 159, 165, and 175.)
13
  Defendants are incorrect that “[m]ost of the Eleventh Circuit’s decision [sic] on
organizational standing came before Clapper,” including Arcia (Def. Br. at 13 n.7.)
The Eleventh Circuit decided Arcia after the Supreme Court decided Clapper.

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grants their requests for relief. (Def. Br. at 14.)14 Nothing in the Complaint alleges

this, however, and Defendants’ speculation provides no basis for dismissal.

      Further, whether Plaintiffs would continue to spend resources on voter

education in general is not the issue because those expenditures are not the injury

Plaintiffs are alleging for standing. Plaintiffs’ expenditures constituting injury for

standing are the additional expenditures for voter education (and other activities)

specifically aimed at counteracting Defendants’ misconduct alleged in the

Complaint. (Compl. ¶ 10 (alleging “The violations of law described in this

Complaint will require Fair Fight Action to spend additional resources educating

voters about their rights, registering voters, and ensuring voters know the process

for casting a ballot that will actually be counted.”); id. ¶ 12 (alleging “The

violations of law described in this Complaint have required, and will continue to

require, Care in Action to spend additional resources educating voters about their

rights and ensuring that voters know the process for casting a ballot that will

actually count.”).) Common sense, which this Court should apply to Plaintiffs’

allegations, prevents an assumption that Plaintiffs would continue spending

resources to counteract Defendants’ wrongdoing even after that wrongdoing has

stopped because Plaintiffs’ requested relief was granted. See Iqbal, 556 U.S. at



14
  Defendants also state that voter education is Plaintiffs’ “primary mission,” (Def.
Br. at 14), but there is no such allegation in the Complaint.
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678, 679 (on a motion to dismiss, courts draw reasonable inferences from the facts

alleged and draw on their judicial experience and common sense when construing

complaint allegations).

      Eleventh Circuit precedent is clear that just because a plaintiff routinely

engages in some education activities does not mean that other education activities

aimed at a defendant’s wrongdoing will not be redressed by the relief requested in

the lawsuit. The court found standing in Browning, where the NAACP’s regular

activities included “election-day education” and the injury alleged included

“educating volunteers and voters on [the challenged statute].” 522 F.3d at 1165-66.

The court found standing in Common Cause/Georgia, where the NAACP’s regular

activities included “voter . . . education” and the injury it alleged was that it would

have to “‘educat[e] volunteers and voters on compliance’ with . . . new voting

requirements.” 554 F.3d at 1350. And the court found standing in Arcia, where the

plaintiff organizations’ “missions . . . includ[ed] voter . . . education” and the

plaintiffs’ alleged injuries included “educat[ing] its members about Defendant’s

unlawful practices.” 772 F.3d at 1341.

      Moreover, Defendants’ argument ignores the Complaint allegations saying

Plaintiffs will be required to expend resources on items other than education, too,

such as voter registration and ensuring that voters understand the process for

casting a ballot that actually gets counted. (Compl. ¶¶ 10, 12.)

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       D. BECAUSE DEFENDANTS CAN REDRESS THE ALLEGED
          HARMS, ALL NECESSARY PARTIES ARE PRESENT (DEF. BR.
          § II.A).

      Defendants cite no cases to support their claim that county election boards

are necessary parties under Fed. R. Civ. P. 19(a)(1)(A). (Def. Br. at 16.) Those

boards are not necessary parties because Defendants can provide complete relief.

      As explained above, Defendants oversee and supervise local elections

officials. Courts have held that when state officials with the power to supervise and

direct localities or counties are named defendants, the local registrars or board of

elections are not necessary parties. See, e.g., State Comm. of the Indep. Party v.

Berman, 294 F. Supp. 2d 518, 520 (S.D.N.Y. 2003) (county boards of elections not

necessary parties where defendant State Board of Elections had the power and

responsibility to oversee the county boards). Election law cases against state-wide

officials are routinely found to be properly brought without including any local

county officials as defendants. See U.S. v. Cunningham, No. 3:08cv709, 2009 WL

3350028, at *8 (E.D. Va. Oct. 15, 2009) (rejecting defendants’ argument that local

officials are necessary parties in an Uniformed And Overseas Citizens Absentee

Voting Act claim); see also Nat’l Coalition for Students with Disabilities v. Bush,

170 F. Supp. 2d 1205, 1210-11 (N.D. Fla. 2001) (citing Harman v. Forssenius, 380

U.S. 528, 537, n.14 (1965) as “holding that where the basic aim of the lawsuit

challenging Virginia’s voting qualification requirements was to secure relief which

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defendant state board of elections was clearly capable of effecting, local registrars

were not indispensable parties.”).

      County elections officials are also unnecessary parties because Plaintiffs are

seeking a state-wide remedy for state-wide constitutional wrongs. In League of

Women Voters of Ohio v. Blackwell, plaintiffs sued Ohio state-wide officials,

alleging an unconstitutional elections process. See League of Women Voters of

Ohio v. Blackwell, 432 F. Supp. 2d 723 (N.D. Ohio 2005), aff’d in part, rev’d in

part sub nom. League of Women Voters of Ohio v. Brunner, 548 F.3d 463 (6th Cir.

2008). The court held that because the plaintiffs “s[ought] a state-level remedy for

alleged state-wide constitutional wrongs,” the “presence or absence of the local

[Boards of Elections] ha[d] no bearing on whether complete relief c[ould] be

granted.” Id. at 733.15

       E. PLAINTIFFS HAVE STATED A FAILURE-TO-TRAIN CLAIM
          (DEF. BR. § II.B).
      Defendants also cite no cases for their argument that, to plead a failure-to-

train case, Plaintiffs must allege “specific deficiencies” in training and

“distinguish[] between the subject of the training (e.g., rules, manuals, etc.) and the

execution of the training.” (Def. Br. at 17.) No such requirement exists.


15
  Even if the county election boards and officials were necessary parties, the
counts should not be dismissed; instead, under Fed. R. Civ. P. 19(a)(2), the Court
“must order that the [county election boards and officials] be made [] part[ies].”

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Nonetheless, Plaintiffs have alleged specific errors attributable to inadequate

training regarding provisional ballots, (Compl. ¶¶ 27, 94-99), and absentee ballots,

(Compl. ¶¶ 28, 100-113).

      Defendants next selectively cite City of Canton, Ohio v. Harris, 489 U.S.

378 (1989), discussing that “the government” is not liable for “a particular officer”

who “may be unsatisfactorily trained[.]” (Def. Br. at 17.) Where the alleged

shortcoming is with one officer, as it was in Harris, it makes sense that the “the

officer’s shortcomings may have resulted from factors other than a fault training

program.” Id. at 390-91.

      But here Plaintiffs do not allege that one “unfortunate incident” occurred

because of one “particular officer.” (See Def. Br. at 17 (citing Harris, 489 U.S. at

390-91).) Plaintiffs allege Defendants “grossly mismanaged an election.” (Compl.

¶ 2.) Plaintiffs allege “many poll workers,” not just one, either “refused to comply

with th[e] legal obligation” “to provide a provisional ballot to any voter who

registration c[ould not] be confirmed” “or simply did not understand” that legal

obligation. (Id. ¶¶ 26-27.) Because of Defendants’ failure to train and oversee

elections officials, “voters were misinformed about how [their provisional] ballots

would be handled,” (id. ¶¶ 95-96), “[e]lections officials [] gave the wrong

instructions to voters who showed up at the wrong polling place,” (id. ¶ 97), and

“[e]lections officials failed to offer provisional ballots” to people “who show[ed]

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up to vote and whose name [were] not on the voter registration rolls,” (id. ¶ 98).

Plaintiffs similarly allege Defendants’ failure to train election officials on absentee

ballots was widespread. (Id. ¶¶ 28, 102-09.) These are not isolated incidents

attributable to one rogue poll worker.

      Defendants are also incorrect that Plaintiffs have not pleaded intent or

deliberate indifference. (Def. Br at 17-18.) In the Complaint allegations cited

above, Plaintiffs have alleged widespread deprivations of constitutional rights of

which Defendants were aware and on which Defendants deliberately chose not to

train local officials. See Williams v. Limestone County, Ala., 198 F. App’x. 893,

896 (11th Cir. 2006) (finding deliberate indifference where the “need for more or

different training” was “obvious” and the failure to train was “likely to result in the

violation of a constitutional right”) (citing Belcher v. City of Foley, 30 F.3d 1390,

1397-98 (11th Cir. 1994)). Indeed, Plaintiffs allege that Defendants’ wrongdoing

was motivated by a desire to suppress votes. (Compl. ¶¶ 21, 25.)

      Further, a policy of inaction when on notice that a program will violate the

Constitution is equivalent to a decision to violate the Constitution. Connick v.

Thompson, 563 U.S. 51, 61–62 (2001). Here, Defendants were on such notice.

Besides “decades-long neglect of [an] elections infrastructure,” Defendants knew

that additional training was necessary because of “clos[ing] or mov[ing]

approximately 305 [polling] locations,” (Compl. ¶¶ 21, 25), “inoperable machines,

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the inaccurate voter registration list, [] the ‘exact match’ and ‘use it or lose it’

policies,” (id. ¶ 90), “high voter turnout during early voting,” (id. ¶ 91), and the

warning “by the Democratic Party that voter turnout would be high,” (id.).

       F. PLAINTIFFS HAVE ADEQUATELY PLEADED CAUSATION
          FOR THE BOARD AND BOARD MEMBERS (DEF. BR. § IV.A).

      Defendants argue that the SEB and its members should be dismissed because

Plaintiffs have not pleaded a causal link between their alleged in jury and these

Defendants. (Def. Br. at 20.) Defendants are incorrect.

      In addition to the allegations Defendants themselves point out as specifically

referring to the SEB, (see id. at 21), Plaintiffs allege that all Defendants, a term that

includes the SEB and its members, caused a legally cognizable injury, and further

allege the duties that all Defendants willfully disregarded, thereby causing

Plaintiffs’ injuries. (See, e.g., Compl. ¶¶ 13, 22, 30-32, 34, 93 123, 134-35, 147-49,

158, 164, 173-74.) Plaintiffs then allege facts showing how Defendants failed to

perform their duties, and allege that those failures injured Plaintiffs. (See, e.g., id.

¶¶ 29, 34-114.) Plaintiffs have adequately pleaded causation with respect to all

Defendants, including the SEB and its members. 16


16
  Equally unavailing is Defendants’ argument that Plaintiffs’ Complaint is a
shotgun pleading. (Def. Br. at 21). Defendants rely exclusively on Weiland v. Palm
Beach Cty. Sheriff's Office, 792 F.3d 1313, 1324 (11th Cir. 2015), but Weiland
directly contradicts Defendants’ argument. Weiland makes clear that incorporating
by reference all fact allegations is appropriate; what is not appropriate is
incorporating by reference in every count all previous counts. Weiland, 792 at
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      G. PLAINTIFFS HAVE ADEQUATELY PLEADED DEFENDANTS’
         DISCRIMINATORY INTENT (DEF. BR. §§ V AND VI).

      Defendants urge dismissal of Plaintiffs’ Equal Protection and Fifteenth

Amendment claims because “Plaintiffs only point to alleged disproportionate effects

and make no reference whatsoever to discriminatory intent or purpose.” (Def. Br. at

24, 25.) They say “the omission” of that “reference” “necessitates dismissal.” Id.

      Defendants’ argument ignores that the Complaint puts intentional

discrimination front and center: the challenged practices include “discriminatory

voting barriers reminiscent of the Jim Crow era,” “time-tested voter suppression

tactics,” and “a known strategy of voter suppression.” (Compl. ¶¶ 17, 21, 25

(incorporated by reference into all counts).) For another, Rule 8(a)(2) “requires

only a short and plain statement . . . to give the defendant fair notice of what the

claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S.

544, 555 (2007). Defendants obviously have “fair notice” that Plaintiffs claim

intentional race discrimination: their brief identifies the claims as raising that issue.

(Def. Br. at 24-25.) And Defendants acknowledge that the claims are grounded

upon the extensive discriminatory effects pleadings, (id.),which are “circumstantial

. . . evidence of intent” that courts have repeatedly found sufficient to state a




1324. The counts in Plaintiffs’ Complaint incorporate by reference only fact
allegations, not prior counts.

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discrimination claim. See Rogers v. Lodge, 458 U.S. 613, 618 (1982); Lee v.

Virginia State Bd. of Elections, No. 3:15cv357, 2016 WL 6921611 (E.D. Va. Feb.

2, 2016); Veasey v. Perry, 29 F. Supp. 3d 896 (S.D. Tex. 2014); see also Fed. R.

Civ. P. 9(b) (even in fraud claim, “intent . . . may be alleged generally”).

Defendants do not dispute any of this yet cry foul because of the “omission” of

particular conclusory words. Defendants offer no authority for their

counterintuitive position that magic words are necessary and dispositive.

      Also, Defendants ignore Plaintiffs’ alternative Equal Protection theory. (See

Compl. ¶ 150.) In addition to pleading intentional discrimination, Plaintiffs allege

the Equal Protection Clause is violated by “arbitrary and disparate treatment,” a

liability theory that does not require intent. Bush v. Gore, 531 U.S. 98, 104 (2000);

League of Women Voters of Ohio v. Brunner, 548 F.3d 463, 477 (6th Cir. 2008).

                          II.    CONCLUSION

      For the reasons stated herein, Plaintiffs request that the Court deny the

Motion to Dismiss.

      Respectfully submitted this the 11th day of February, 2019.




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                                CERTIFICATION

      I certify that this brief has been prepared in a Times New Roman 14 point

font, one of the font and point selections that this Court has approved. See LR

5.1(C)(3).



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